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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE

 9   UNITED SPECIALTY INSURANCE                           NO.
     COMPANY, a Delaware corporation,
10                                                        PLAINTIFF’S COMPLAINT FOR
                     Plaintiff,                           DECLARATORY JUDGMENT AND
11                                                        RESCISSION OF INSURANCE
             v.                                           CONTRACT
12
     SHOT SHAKERS, INC. d/b/a Roosevelt Ale               28 U.S.C. §1332
13   House, a Washington corporation, SCOTT
     SIMPSON, a Washington resident, MICHELLE
14   SIMPSON, a Washington resident, and
     JACKMAN COMMERCIAL BUILDING
15   L.L.C., a Washington limited liability company,
16                   Defendants.
17

18                                          I.     PARTIES
19           1.      Plaintiff United Specialty Insurance Company (hereinafter “United Specialty”)
20   is a Delaware corporation with its principal place of business in Texas.
21           2.      Defendant Shot Shakers, Inc., d/b/a Roosevelt Ale House (hereinafter “Shot
22   Shakers”) is a Washington corporation.
23           3.      Defendants Scott Simpson and Michelle Simpson are a married couple, and both
24   reside in King County, Washington.
25


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 1           4.       Upon information and belief, Defendants Scott Simpson and Michelle Simpson

 2   are co-owners of Shot Shakers.

 3           5.       Upon information and belief, Defendant Jackman Commercial Building, L.L.C.

 4   (hereinafter “Jackman”) is the owner of the building where the loss described below occurred

 5   and leases the building to Shot Shakers.

 6                                 II.    VENUE AND JURISDICTION
 7           6.       The U.S. District Court in the Western District of Washington has jurisdiction

 8   pursuant to 28 U.S.C. §1332. There is complete diversity between the parties, and the amount

 9   in controversy exceeds $75,000.00, exclusive of costs and interest.

10           7.       Venue is proper in this District pursuant to 28 U.S.C. §1391(b) as a substantial

11   part of the events giving rise to the claim occurred in King County, Washington.

12                                              III.   FACTS
13   A.      The Insurance Policy
14           8.       United Specialty issued a Commercial Lines Policy No. USA 4131292 to Shot

15   Shakers with effective dates of July 4, 2017 to July 4, 2018 (hereinafter the “Policy”).

16   Attached hereto as Exhibit A is a copy of the Policy.
17           9.       Pursuant to the Policy’s terms and conditions, the Policy provides certain

18   commercial property coverage to Shot Shakers for the Roosevelt Ale House located at 8824
19   Roosevelt Way NE Seattle WA 98115 (hereinafter the “Property”).

20           10.      The Policy contains form CP 00 10 10 12, which includes following relevant

21   policy language:

22                             BUILDING AND PERSONAL PROPERTY

23                 Various provisions in this policy restrict coverage. Read the entire policy
                   carefully to determine rights, duties and what is and is not covered.
24
                   Throughout this policy, the words “you” and “your” refer to the Named
25                 Insured shown in the Declarations. The words “we”, “us” and “our” refer
                   to the company providing this insurance.

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 1                 Other words and phrases that appear in quotation marks have special
                   meaning. Refer to Section H. Definitions.
 2
                   A. Coverage
 3
                      We will pay for direct physical loss of or damage to Covered Property
 4                    at the premises described in the Declarations caused by or resulting
 5                    from any Covered Cause of Loss.

 6                    1. Covered Property

 7                    Covered Property, as used in this Coverage Part, means the type of
                      property described in this section, A.1., and limited in A.2. Property
 8                    Not Covered, if a Limit Of Insurance is shown in the Declarations for
                      that type of property.
 9
                                                     * * *
10                 B. Exclusions And Limitations
11                 See applicable Causes Of Loss form as shown in the Declarations.
12
                   C. Limits Of Insurance
13
                   The most we will pay for loss or damage in any one occurrence is the
14                 applicable Limit Of Insurance shown in the Declarations.

15                                                   * * *

16           11.      The Policy contains form Endorsement, CP 00 90 07 88, which provides, in

17   relevant part, as follows:

18                             COMMERCIAL PROPERTY CONDITIONS
             This Coverage Part is subject to the following conditions, the Common Policy
19           Conditions and applicable Loss Conditions and Additional Conditions in
             Commercial Property Coverage Forms.
20

21           A. CONCEALMENT, MISREPRESENTATION OR FRAUD
                   This Coverage Part is void in any case of fraud by you as it relates to this
22                 Coverage Part at any time. It is also void if you or any other insured, at any
23                 time, intentionally conceal or misrepresent a material fact concerning:
                   1. This Coverage Part;
24
                   2. The Covered Property;
25                 3. Your interest in the Covered Property; or


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 1                 4. A claim under this Coverage Part.

 2                                                     * * *

 3           12.      The Policy contains form Endorsement, IL 04 15 04 98, which provides as

 4   follows:

 5                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ
                                    IT CAREFULLY.
 6

 7                                     PROTECTIVE SAFEGUARDS
 8                 This endorsement modifies insurance provided under the following:

 9                 COMMERCIAL PROPERTY COVERAGE PART
                   FARM COVERAGE PART
10

11                                               SCHEDULE
12                       Perm. No.                 Build. No.          Protective Safeguards
                                                                        Symbols Applicable
13                         1                      1                       P-9
                 Describe any “P-9”:
14                         Fully functional and actively engaged fire extinguishing system over
                           the entire cooking area with an automatic shut off for the heat source
15                         with a semi annual service contract
16

17                 A. The following is added to the:
18                    Commercial Property Conditions
19                    General Conditions in the Farm Property — Other Farm Provisions
                         Form — Additional Coverages, Conditions, Definitions
20                    General Conditions in the Mobile Agricultural Machinery and
                         Equipment Coverage Form
21
                      General Conditions in the Livestock Coverage Form
22
                   PROTECTIVE SAFEGUARDS
23
                   1. As a condition of this insurance, you are required to maintain the
24                    protective devices or services listed in the Schedule above.
25                 2. The protective safeguards to which this endorsement applies are
                      identified by the following symbols:


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 1                                                * * *
 2                 "P-9" The protective system described in the Schedule.

 3                 B. The following is added to the EXCLUSIONS section of:
                      CAUSES OF LOSS — BASIC FORM
 4
                      CAUSES OF LOSS — BROAD FORM
 5                    CAUSES OF LOSS — SPECIAL FORM
 6                    MORTGAGE HOLDERS ERRORS AND
                      OMISSIONS COVERAGE FORM
 7
                      STANDARD PROPERTY POLICY
 8                    CAUSES OF LOSS FORM — FARM PROPERTY
 9                    MOBILE AGRICULTURAL MACHINERY AND EQUIPMENT
                      COVERAGE FORM
10                    LIVESTOCK COVERAGE FORM
11
                   We will not pay for loss or damage caused by or resulting from fire if,
12                 prior to the fire, you:

13                 1. Knew of any suspension or impairment in any protective safeguard
                      listed in the Schedule above and failed to notify us of that fact; or
14
                   2. Failed to maintain any protective safeguard listed in the Schedule
15                    above, and over which you had control, in complete working order.

16                 If part of an Automatic Sprinkler System is shut off due to breakage,
                   leakage, freezing conditions or opening of sprinkler heads, notification to
17                 us will not be necessary if you can restore full protection within 48 hours.

18
             13.      Other language from the Policy may apply, and United Specialty reserves its
19
     rights to supplement and/or amend its Complaint, as permitted by law.
20

21   B.      Shot Shaker’s Insurance Application
             14.      The Property is owned by Jackman.
22
             15.      Shot Shakers leases the Property from Jackman.
23

24

25


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 1           16.     Shot Shakers submitted a signed written application for insurance (hereinafter

 2   “Application”) when it purchased the Policy.         Attached as Exhibit B is a copy of the
 3   Application.

 4           17.     In the Application, Shot Shakers answered a series of questions about its

 5   business and the Property.

 6           18.     Specifically, Shot Shakers made the following representations to United

 7   Specialty:

 8                   a. Is there a semi-annual (or more frequent) service contract on the
                        automatic extinguishing system? Yes
 9
                     b. Are hoods and ducts equipped with filters? Yes
10
                     c. Are filters cleaned at least every 6 months? Yes
11
                     d. Are hoods and ducts cleaned every 6 months or more frequently?
12                      Yes
13                   e. Are there any uncorrected fire code violations? No
14   C.      The Fire
15           19.     At approximately 2:45 a.m. on the morning of December 16, 2017, a fire

16   occurred in the kitchen at Shot Shakers.

17           20.     United Specialty’s subsequent investigation revealed that fire started when a

18   burner on a broiler/grill appliance was left on after Shot Shakers closed for the night.
19           21.     The heat from the hot burner ignited the excessive amount of grease built up

20   within the kitchen exhaust hood.

21           22.     The liquefaction of the accumulated grease within the hood baffle filters and

22   within the hood grease trough dripped onto the broiler and flat griddle and ignited.

23           23.     The hood fire suppression system activated, though the grease overwhelmed the

24   system and continued to burn.

25


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 1           24.     Heat, soot, and smoke traveled throughout the remaining areas of the Property

 2   and caused damage to various furnishings, stock, and storage.

 3           25.     United Specialty’s subsequent investigation revealed that the fire suppression

 4   system did not provide protection to the appliance where the fire originated because the fire

 5   suppression system was not properly configured for the appliances in the cookline.

 6           26.     As a result, the fire suppression system failed to control the fire.

 7           27.     United Specialty’s subsequent investigation also revealed that grease deposits in

 8   the appliances, hood and ductwork were far in excess of code-recommended maximums.

 9           28.     It was determined that grease deposits in the hood and ductwork were several

10   times greater than the recommended limit of 0.078 inches contained in the National Fire

11   Protection Association (hereinafter “NFPA”) code section 96.

12           29.     United Specialty’s subsequent investigation also revealed various code

13   violations regarding the fire suppression system.

14           30.     As part of its investigation, United Specialty requested that Shot Shakers

15   provide records of repairs, maintenance, service and cleaning of the kitchen equipment,

16   including the fire extinguishing system and ventilation system.

17           31.     Shot Shakers produced invoices from AAA Fire & Safety, Inc. (hereinafter

18   “AAA”) showing that the fire suppression system was serviced on March 12, 2015, and that
19   deficiencies were noted in the fire suppression system in that all nozzles were not properly

20   positioned and all cooking appliances did not have the required number and/or type of nozzles

21   to provide adequate fire protection. Attached as Exhibit C is a copy of the AAA report dated
22   March 12, 2015.

23           32.     The next inspection by AAA was performed on March 25, 2016, in which AAA

24   noted the same deficiencies in the fire suppression system as the March 12, 2015 report.

25   Attached as Exhibit D is a copy of the AAA report dated March 25, 2016.


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 1           33.     The next inspection by AAA, and the last inspection prior to the fire, was

 2   performed on January 6, 2017. Attached as Exhibit E is a copy of the AAA report dated
 3   January 6, 2017.

 4           34.     Similar to the two prior AAA reports, the report dated January 6, 2017 notes the

 5   same deficiencies in the fire suppression system in that all nozzles were not properly positioned

 6   and all cooking appliances did not have the required number and/or type of nozzles to provide

 7   adequate fire protection.

 8           35.     After the fire, Shot Shakers provided kitchen exhaust cleaning records from

 9   Northwest Kitchen Exhaust to United Specialty, which showed that the exhaust system was

10   cleaned on the following dates: April 2, 2015; November 12, 2015; July 28, 2016; January 19,

11   2017; and May 17, 2017. Attached as Exhibit F is a copy of the Northwest Kitchen Exhaust
12   cleaning reports.

13           36.     Prior to the December 16, 2017 fire, the kitchen exhaust system had not been

14   cleaned since May 17, 2017.

15           37.     Upon information and belief, Northwest Kitchen Exhaust attempted to schedule

16   a cleaning of the exhaust system at the Property in September 2017, but was unable to reach

17   the owners of Shot Shakers, and as a result, no cleaning had been scheduled prior to the

18   December 16, 2017 fire.
19                    IV. FIRST CAUSE OF ACTION:
       DECLARATORY JUDGMENT – PROTECTIVE SAFEGUARDS ENDORSEMENT
20

21           38.     United Specialty realleges each of the allegations contained in Paragraphs 1

22   through 37 as if fully set forth herein.

23           39.     The Policy contains a “Protective Safeguards” Endorsement that requires a

24   “fully functional and actively engaged fire extinguishing system over the entire cooking area

25   with an automatic shut off for the heat source with a semi annual service contract.”


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 1             40.   This Endorsement provides that United Specialty owes no obligation to pay for

 2   loss or damage caused by or resulting from fire if, prior to the fire, Shot Shakers “[k]new of

 3   any suspension or impairment in any protective safeguard listed in the Schedule above and

 4   failed to notify [United Specialty] of that fact; or [f]ailed to maintain any protective safeguard

 5   listed in the Schedule above, and over which [Shot Shakers] had control, in complete working

 6   order.”

 7             41.   United Specialty’s subsequent investigation revealed that the fire suppression

 8   system did not provide protection to the appliance where the fire originated; grease deposits in

 9   the appliances, hood and ductwork were far in excess of code-recommended maximums; and

10   there were code violations involving the fire suppression system.

11             42.   Since March 12, 2015, Shot Shakers knew from the AAA reports that the fire

12   suppression system at the Property contained impairments in that all nozzles were not properly

13   positioned and all cooking appliances did not have the required number and/or type of nozzles

14   to provide adequate fire protection.

15             43.   Prior to the December 16, 2017 fire, Shot Shakers took no action to remedy the

16   impairments in the fire suppression system.

17             44.   Prior to the December 16, 2017 fire, Shot Shakers never notified United

18   Specialty of such impairments to the fire suppression system.
19             45.   Because Shot Shakers knew about the impairments in the fire suppression

20   system, yet never took any action to fix these impairments, and never notified United Specialty

21   of such impairments, United Specialty owes no obligation to provide coverage for damage

22   caused by the December 16, 2017 fire.

23             46.   A justiciable controversy exists between United Specialty and Shot Shakers

24   with respect to their duties and obligations under the Policy.

25


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 1           47.      As a result, a declaratory judgment by the Court is necessary to resolve the

 2   controversy between the parties.

 3                     V.  SECOND CAUSE OF ACTION:
         DECLARATORY JUDGEMENT – CONCEALMENT/ MISREPRESENTATION
 4

 5           48.      United Specialty realleges each of the allegations contained in Paragraphs 1

 6   through 47 as if fully set forth herein.

 7           49.      The Policy contains, as a condition of coverage, a provision that voids the

 8   policy if Shot Shakers intentionally conceals or misrepresents a material fact concerning the

 9   coverage afforded under the Policy or the Property.

10           50.      In the Application, Shot Shakers intentionally made the following statements to

11   United Specialty:

12                    a. Is there a semi-annual (or more frequent) service contract on the automatic
                         extinguishing system? Yes
13
                      b. Are hoods and ducts equipped with filters? Yes
14
                      c. Are filters cleaned at least every 6 months? Yes
15
                      d. Are hoods and ducts cleaned every 6 months or more frequently? Yes
16
                      e. Are there any uncorrected fire code violations? No
17

18           51.      Based on United Specialty’s investigation, and the documents provided by Shot
19   Shakers as part of this investigation, one or more of the above statements made by Shot

20   Shakers in the Application is untrue.

21           52.      The above statements are material to the coverage provided by the Policy and

22   the Property because they pertain to the likelihood that a fire caused by excessive grease in the

23   kitchen could occur at the Property, as well as the ability of the fire suppression system to

24   control a kitchen fire if one ever occurred at the Property.

25


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 1           53.      As a result, United Specialty seeks declaratory judgment that the Policy is void

 2   based on the above-referenced condition contained in the Policy.

 3           54.      A justiciable controversy exists between United Specialty and Shot Shakers

 4   with respect to their duties and obligations under the Policy.

 5           55.      As a result, a declaratory judgment by the Court is necessary to resolve the

 6   controversy between the parties.

 7                              VI.  THIRD CAUSE OF ACTION:
                           RESCISSION OF THE INSURANCE CONTRACT
 8

 9           56.      United Specialty realleges each of the allegations contained in Paragraphs 1

10   through 55 as if fully set forth herein.

11           57.      Shot Shakers made material misrepresentations in the Application pertaining to

12   the fire suppression system and the cleaning of the kitchen equipment at the Property.

13           58.      United Specialty reasonably relied on such misrepresentations to its detriment as

14   these misrepresentations influenced United Specialty’s decision to issue the Policy to Shot

15   Shakers.

16           59.      As a result of Shot Shaker’s material misrepresentations, United Specialty seeks

17   rescission of the Policy.

18                                     VII.     PRAYER FOR RELIEF
19           Plaintiff United Specialty Insurance Company prays for the following relief:

20           1.       Declaratory judgment for United Specialty that it owes no obligation to provide

21   coverage for damage to the Property caused by the December 16, 2017 fire;

22           2.       Rescission of the Policy based on Shot Shaker’s material misrepresentations in

23   the Application for the Policy;

24           3.       Reasonable attorney fees and costs allowed by statute and law;

25           4.       All interest allowed by law; and


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 1           5.       Such other and further relief as the Court deems just and equitable.

 2           DATED this 24th day of April, 2018.

 3
                                                        WILLIAMS, KASTNER & GIBBS PLLC
 4
                                                        s/ Eliot M. Harris
 5                                                      Eliot M. Harris, WSBA #36590
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 6                                                      Seattle, WA 98101-2380
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                                                        Email: eharris@williamskastner.com
 8
                                                        Attorneys for Plaintiff United Specialty Insurance
 9                                                      Company

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